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  Fill in this information to identify your case and this filing:
  Debtor 1               Robert                      David                Lain
                         First Name                  Middle Name          Last Name

  Debtor 2
  (Spouse, if filing) First Name                     Middle Name          Last Name


  United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

  Case number            22-40935-mxm7                                                                                              Check if this is an
  (if known)
                                                                                                                                    amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                       12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list
the asset in the category where you think it fits best. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, attach a separate
sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


  Part 1:          Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
            No. Go to Part 2.
            Yes. Where is the property?

1.1.                                                       What is the property?                             Do not deduct secured claims or exemptions. Put the
4405 Thorp Lane                                            Check all that apply.                             amount of any secured claims on Schedule D:
Street address, if available, or other description             Single-family home                            Creditors Who Have Claims Secured by Property.
                                                               Duplex or multi-unit building                 Current value of the            Current value of the
                                                               Condominium or cooperative                    entire property?                portion you own?
Keller                           TX       76244                Manufactured or mobile home                               $477,000.00                  $477,000.00
City                             State    ZIP Code             Land
                                                               Investment property                           Describe the nature of your ownership
                                                               Timeshare                                     interest (such as fee simple, tenancy by the
Tarrant                                                                                                      entireties, or a life estate), if known.
                                                               Other
County
                                                                                                             Homestead
                                                           Who has an interest in the property?
4405 Thorp Lane, Keller, TX 76244
                                                           Check one.
                                                               Debtor 1 only                                      Check if this is community property
                                                               Debtor 2 only                                      (see instructions)
                                                               Debtor 1 and Debtor 2 only
                                                               At least one of the debtors and another

                                                           Other information you wish to add about this item, such as local
                                                           property identification number:

2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any
       entries for pages you have attached for Part 1. Write that number here.............................................................            $477,000.00




Official Form 106A/B                                                   Schedule A/B: Property                                                                page 1
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Debtor 1         Robert David Lain                                                                   Case number (if known)         22-40935-mxm7


 Part 2:          Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3.   Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

           No
           Yes

3.1.                                                   Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                     Infiniti                     Check one.                                          amount of any secured claims on Schedule D:
                                                            Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                    QX80
                                                            Debtor 2 only                           Current value of the                   Current value of the
Year:                     2019                                                                      entire property?                       portion you own?
                                                            Debtor 1 and Debtor 2 only
Approximate mileage: 44,000                                 At least one of the debtors and another            $45,000.00                           $45,000.00
Other information:
2019 Infiniti QX80 (approx. 44,000                          Check if this is community property
miles)                                                      (see instructions)

3.2.                                                   Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                     Chevrolet                    Check one.                                          amount of any secured claims on Schedule D:
                                                            Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                    Pickup 3100
                                                            Debtor 2 only                           Current value of the                   Current value of the
Year:                     1954
                                                            Debtor 1 and Debtor 2 only              entire property?                       portion you own?
Approximate mileage:                                        At least one of the debtors and another             $6,000.00                             $6,000.00
Other information:
1954 Chevrolet Pickup 3100 - shell                          Check if this is community property
only no motor                                               (see instructions)

3.3.                                                   Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                     Ford                         Check one.                                          amount of any secured claims on Schedule D:
                                                            Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                    F250
                                                            Debtor 2 only                           Current value of the                   Current value of the
Year:                     2019
                                                            Debtor 1 and Debtor 2 only              entire property?                       portion you own?
Approximate mileage: 72,000                                 At least one of the debtors and another            $46,000.00                           $46,000.00
Other information:
2019 Ford F250 Super Duty Dual Axle                         Check if this is community property
Diesel                                                      (see instructions)
4.   Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
     Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
           No
           Yes

5.   Add the dollar value of the portion you own for all of your entries from Part 2, including any
     entries for pages you have attached for Part 2. Write that number here.............................................................            $97,000.00


 Part 3:          Describe Your Personal and Household Items
                                                                                                                                           Current value of the
Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                                           portion you own?
                                                                                                                                           Do not deduct secured
                                                                                                                                           claims or exemptions.

6.   Household goods and furnishings
     Examples: Major appliances, furniture, linens, china, kitchenware
           No
           Yes. Describe............
                               See continuation page(s).                                                                                            $14,200.00



Official Form 106A/B                                                 Schedule A/B: Property                                                                page 2
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Debtor 1         Robert David Lain                                                                                   Case number (if known)             22-40935-mxm7

7.    Electronics
      Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners;
                 music collections; electronic devices including cell phones, cameras, media players, games
            No
            Yes. Describe............
                                See continuation page(s).                                                                                                                  $5,500.00


8.    Collectibles of value
      Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                 stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
            No
            Yes. Describe............


9.    Equipment for sports and hobbies
      Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis;
                canoes and kayaks; carpentry tools; musical instruments
            No
            Yes. Describe............
                                See continuation page(s).                                                                                                                  $3,500.00


10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
            No
            Yes. Describe............


11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
            No
            Yes. Describe............
                                Clothing, Shoes and Accessories                                                                                                            $2,000.00


12. Jewelry
    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
              gold, silver
            No
            Yes. Describe............
                                Wedding Rings                                                                                                                              $1,000.00

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
            No
            Yes. Describe............
                                Dogs/Dog Supplies                                                                                                                          $3,000.00

14. Any other personal and household items you did not already list, including any health aids you
    did not list
            No
            Yes. Give specific
            information......................
                                      misc clothing and household goods in storage                                                                                           $500.00

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have
    attached for Part 3. Write the number here.......................................................................................................................     $29,700.00


  Part 4:          Describe Your Financial Assets
                                                                                                                                                                 Current value of the
Do you own or have any legal or equitable interest in any of the following?
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.



Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 3
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Debtor 1         Robert David Lain                                                                                                     Case number (if known)                    22-40935-mxm7

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your
              petition
           No
           Yes.....................................................................................................................................................................................................
                                                                                                                                                    Cash: ...........................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions,
              brokerage houses, and other similar institutions. If you have multiple accounts with the same
              institution, list each.

           No
           Yes..............................                    Institution name:

            17.1.        Checking account:                      Wells Fargo Checking account #                                                                                                                $1,264.61
18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
           No
           Yes.............................. Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including
    an interest in an LLC, partnership, and joint venture
           No
           Yes. Give specific
           information about
           them...............................................
                                              Name of entity:                                                                                               % of ownership:

                                                 Texas Speed Dynamics LLC - company is insolvent                                                                    100%                                              $0.00
20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
           No
           Yes. Give specific
           information about
           them...............................................
                                              Issuer name:
21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or
              profit-sharing plans
           No
           Yes. List each
           account separately.                Type of account:                     Institution name:

                                              401(k) or similar plan: 401(k) Allerus                                                                                                                        $40,180.00
22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

           No
           Yes..............................                                 Institution name or individual:
23. Annuities (A contract for a specific periodic payment of money to you, either for life or for a number of years)
       No
       Yes.............................. Issuer name and description:




Official Form 106A/B                                                                        Schedule A/B: Property                                                                                                    page 4
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Debtor 1        Robert David Lain                                                                Case number (if known)       22-40935-mxm7

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
           No
           Yes.............................. Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c)
25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or
    powers exercisable for your benefit
           No
           Yes. Give specific
           information about them

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property;
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
           No
           Yes. Give specific
           information about them

27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
           No
           Yes. Give specific
           information about them

Money or property owed to you?                                                                                                          Current value of the
                                                                                                                                        portion you own?
                                                                                                                                        Do not deduct secured
                                                                                                                                        claims or exemptions.

28. Tax refunds owed to you

           No
           Yes. Give specific information                                                                                    Federal:
           about them, including whether
           you already filed the returns                                                                                     State:
           and the tax years.....................................
                                                                                                                             Local:

29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
           No
           Yes. Give specific information                                                                       Alimony:

                                                                                                                Maintenance:

                                                                                                                Support:

                                                                                                                Divorce settlement:

                                                                                                                Property settlement:

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers'
              compensation, Social Security benefits; unpaid loans you made to someone else
           No
           Yes. Give specific information




Official Form 106A/B                                                Schedule A/B: Property                                                              page 5
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Debtor 1         Robert David Lain                                                                                   Case number (if known)             22-40935-mxm7

31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
            No
            Yes. Name the insurance
            company of each policy
            and list its value................    Company name:                                                 Beneficiary:                                Surrender or refund value:
32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently
    entitled to receive property because someone has died
            No
            Yes. Give specific information


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
            No
            Yes. Describe each claim..............
                                              Claim against Robert Chad Higgs, former owner of Texas Speed                                                               $800,000.00
                                                       Dynamics, LLC, for fraud - Higgs misrepresented the amounts
                                                       that customers had been paid as deposits for work,
                                                       misrepresented the amounts that had been paid for parts,
                                                       misrepresented the parts that had been ordererd and made other
                                                       statements that he knew were false at the time that the
                                                       statements were made. Debtor relied on the false statements.
                                                       Debtor made substantial investment in the company from his
                                                       personal assets due to his reasonable reliance on the false
                                                       statements and incurred new debt on behalf of the corporation.
                                                       Loss to debtor is approximately $450,000. In addition, debtor
                                                       incurred new debts in reliance on the statements of
                                                       approximately $350,000.

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
    rights to set off claims
            No
            Yes. Describe each claim..............


35. Any financial assets you did not already list

            No
            Yes. Give specific information


36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have
    attached for Part 4. Write that number here.......................................................................................................................   $841,444.61


  Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

            No. Go to Part 6.
            Yes. Go to line 38.

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
38. Accounts receivable or commissions you already earned

            No
            Yes. Describe................




Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 6
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Debtor 1          Robert David Lain                                                                                  Case number (if known)             22-40935-mxm7

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones,
               desks, chairs, electronic devices
            No
            Yes. Describe................


40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

            No
            Yes. Describe................


41. Inventory

            No
            Yes. Describe................


42. Interests in partnerships or joint ventures

            No
            Yes. Describe................
                                Name of entity:                                                                                       % of ownership:

43. Customer lists, mailing lists, or other compilations

            No
            Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                    No
                    Yes. Describe..............


44. Any business-related property you did not already list

            No
            Yes. Give specific information.

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have
    attached for Part 5. Write that number here.......................................................................................................................          $0.00


  Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

            No. Go to Part 7.
            Yes. Go to line 47.

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
47. Farm animals
    Examples: Livestock, poultry, farm-raised fish
            No
            Yes............................


48. Crops--either growing or harvested

            No
            Yes. Give specific
            information..........................




Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 7
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Debtor 1           Robert David Lain                                                                                          Case number (if known)                22-40935-mxm7

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

             No
             Yes..............................


50. Farm and fishing supplies, chemicals, and feed

             No
             Yes..............................


51. Any farm- and commercial fishing-related property you did not already list

             No
             Yes. Give specific
             information..........................

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have
    attached for Part 6. Write that number here.......................................................................................................................                      $0.00


  Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

             No
             Yes. Give specific information.


54. Add the dollar value of all of your entries from Part 7. Write that number here.................................................                                                        $0.00


  Part 8: List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2..............................................................................................................................................   $477,000.00

56. Part 2: Total vehicles, line 5                                                                                  $97,000.00

57. Part 3: Total personal and household items, line 15                                                             $29,700.00

58. Part 4: Total financial assets, line 36                                                                       $841,444.61

59. Part 5: Total business-related property, line 45                                                                         $0.00

60. Part 6: Total farm- and fishing-related property, line 52                                                                $0.00

61. Part 7: Total other property not listed, line 54                                               +                         $0.00

                                                                                                                                            Copy personal
62. Total personal property.                     Add lines 56 through 61.................................         $968,144.61               property total                 +          $968,144.61



63. Total of all property on Schedule A/B.                                                                                                                                              $1,445,144.61
                                                                    Add line 55 + line 62.......................................................................................................




Official Form 106A/B                                                                  Schedule A/B: Property                                                                                  page 8
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Debtor 1     Robert David Lain                                              Case number (if known)   22-40935-mxm7


6.   Household goods and furnishings (details):

     Living Room Furnishings                                                                                     $3,000.00

     Dining Room Furnishings                                                                                     $1,000.00

     Kitchen Items                                                                                               $1,000.00

     Master Bedroom Furnishings                                                                                  $2,000.00

     Bedroom #2 Furnsihings                                                                                      $1,000.00

     Bedroom #3 Furnishigs                                                                                       $1,000.00

     Bedroom #4 Furnishings                                                                                      $1,000.00

     Home Office Furnishings                                                                                     $2,000.00

     Household Tools                                                                                                 $500.00

     Refrigerator                                                                                                $1,200.00

     workout equipment in storage                                                                                    $500.00

7.   Electronics (details):

     Washer/Dryer                                                                                                $1,500.00

     Televisions                                                                                                 $3,000.00

     Computer Equipment                                                                                          $1,000.00

9.   Equipment for sports and hobbies (details):

     Hunting Supplies                                                                                            $2,500.00

     Golf Equipment                                                                                              $1,000.00




Official Form 106A/B                               Schedule A/B: Property                                               page 9
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 Fill in this information to identify your case:
 Debtor 1            Robert               David                  Lain
                     First Name           Middle Name            Last Name
 Debtor 2
 (Spouse, if filing) First Name           Middle Name            Last Name

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS
                                                                                                                     Check if this is an
 Case number         22-40935-mxm7                                                                                   amended filing
 (if known)

Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                04/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages,
write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so
is to state a specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being
exempted up to the amount of any applicable statutory limit. Some exemptions--such as those for health aids, rights to
receive certain benefits, and tax-exempt retirement funds--may be unlimited in dollar amount. However, if you claim an
exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1:        Identify the Property You Claim as Exempt

1.   Which set of exemptions are you claiming?             Check one only, even if your spouse is filing with you.
          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on           Current value of     Amount of the                Specific laws that allow exemption
Schedule A/B that lists this property                   the portion you      exemption you claim
                                                        own
                                                        Copy the value from Check only one box for
                                                        Schedule A/B        each exemption


Brief description:                                        $477,000.00                 $156,241.00         Const. art. 16 §§ 50, 51, Texas
4405 Thorp Lane, Keller, TX 76244                                                 100% of fair market     Prop. Code §§ 41.001-.002
                                                                                  value, up to any
Line from Schedule A/B:       1.1
                                                                                  applicable statutory
                                                                                  limit

Brief description:                                         $45,000.00                  $1,798.00          Tex. Prop. Code §§ 42.001(a),
2019 Infiniti QX80 (approx. 44,000 miles)                                         100% of fair market     42.002(a)(9)
                                                                                  value, up to any
Line from Schedule A/B:       3.1
                                                                                  applicable statutory
                                                                                  limit




3.   Are you claiming a homestead exemption of more than $189,050?
     (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)

          No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
              No
              Yes

Official Form 106C                               Schedule C: The Property You Claim as Exempt                                               page 1
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Debtor 1      Robert David Lain                                                      Case number (if known)   22-40935-mxm7

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                     $46,000.00                 $147.00           Tex. Prop. Code §§ 42.001(a),
2019 Ford F250 (approx. 72,000 miles)                                        100% of fair market    42.002(a)(9)
2019 Ford F250 Super Duty Dual Axle                                          value, up to any
Diesel                                                                       applicable statutory
Line from Schedule A/B: 3.3                                                  limit

Brief description:                                      $3,000.00                $3,000.00          Tex. Prop. Code §§ 42.001(a),
Living Room Furnishings                                                      100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $1,000.00                $1,000.00          Tex. Prop. Code §§ 42.001(a),
Dining Room Furnishings                                                      100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $1,000.00                $1,000.00          Tex. Prop. Code §§ 42.001(a),
Kitchen Items                                                                100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $2,000.00                $2,000.00          Tex. Prop. Code §§ 42.001(a),
Master Bedroom Furnishings                                                   100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $1,000.00                $1,000.00          Tex. Prop. Code §§ 42.001(a),
Bedroom #2 Furnsihings                                                       100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $1,000.00                $1,000.00          Tex. Prop. Code §§ 42.001(a),
Bedroom #3 Furnishigs                                                        100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $1,000.00                $1,000.00          Tex. Prop. Code §§ 42.001(a),
Bedroom #4 Furnishings                                                       100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $2,000.00                $2,000.00          Tex. Prop. Code §§ 42.001(a),
Home Office Furnishings                                                      100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 2
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Debtor 1      Robert David Lain                                                      Case number (if known)   22-40935-mxm7

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                       $500.00                  $500.00           Tex. Prop. Code §§ 42.001(a),
Household Tools                                                              100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $1,200.00                $1,200.00          Tex. Prop. Code §§ 42.001(a),
Refrigerator                                                                 100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $500.00                  $500.00           Tex. Prop. Code §§ 42.001(a),
workout equipment in storage                                                 100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $1,500.00                $1,500.00          Tex. Prop. Code §§ 42.001(a),
Washer/Dryer                                                                 100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     7
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $3,000.00                $3,000.00          Tex. Prop. Code §§ 42.001(a),
Televisions                                                                  100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     7
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $1,000.00                $1,000.00          Tex. Prop. Code §§ 42.001(a),
Computer Equipment                                                           100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     7
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $2,500.00                $2,500.00          Tex. Prop. Code §§ 42.001(a),
Hunting Supplies                                                             100% of fair market    42.002(a)(8)
                                                                             value, up to any
Line from Schedule A/B:     9
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $1,000.00                $1,000.00          Tex. Prop. Code §§ 42.001(a),
Golf Equipment                                                               100% of fair market    42.002(a)(8)
                                                                             value, up to any
Line from Schedule A/B:     9
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $2,000.00                $2,000.00          Tex. Prop. Code §§ 42.001(a),
Clothing, Shoes and Accessories                                              100% of fair market    42.002(a)(5)
                                                                             value, up to any
Line from Schedule A/B:    11
                                                                             applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 3
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Debtor 1      Robert David Lain                                                      Case number (if known)   22-40935-mxm7

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                      $1,000.00                $1,000.00          Tex. Prop. Code §§ 42.001(a),
Wedding Rings                                                                100% of fair market    42.002(a)(6)
                                                                             value, up to any
Line from Schedule A/B:    12
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $3,000.00                $3,000.00          Tex. Prop. Code §§ 42.001(a),
Dogs/Dog Supplies                                                            100% of fair market    42.002(a)(11)
                                                                             value, up to any
Line from Schedule A/B:    13
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $500.00                  $500.00           Tex. Prop. Code § 42.001(b)(2)
misc clothing and household goods in                                         100% of fair market
storage                                                                      value, up to any
Line from Schedule A/B: 14                                                   applicable statutory
                                                                             limit

Brief description:                                     $40,180.00               $40,180.00          Tex. Prop. Code § 42.0021
401(k) Allerus                                                               100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    21
                                                                             applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 4
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                                                 UNITED STATES BANKRUPTCY COURT
                                                    NORTHERN DISTRICT OF TEXAS
                                                       FORT WORTH DIVISION
  IN RE: Robert David Lain                                                                  CASE NO       22-40935-mxm7

                                                                                            CHAPTER       7

                            SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)

Exemption Totals by Category:
(Values and liens of surrendered property are NOT included in this section)                                   Scheme Selected: State
                                                                Gross             Total           Total         Total Amount   Total Amount
No.     Category                                        Property Value    Encumbrances           Equity               Exempt    Non-Exempt


1.      Real property                                    $477,000.00          $320,759.00   $156,241.00         $156,241.00            $0.00

3.      Motor vehicles (cars, etc.)                       $97,000.00           $99,687.00     $1,945.00           $1,945.00            $0.00

4.      Water/Aircraft, Motor Homes,                           $0.00                $0.00         $0.00               $0.00            $0.00
        Rec. veh. and access.

6.      Household goods and furnishings                   $14,200.00                $0.00    $14,200.00          $14,200.00            $0.00

7.      Electronics                                        $5,500.00                $0.00     $5,500.00           $5,500.00            $0.00

8.      Collectibles of value                                  $0.00                $0.00         $0.00               $0.00            $0.00

9.      Equipment for sports and hobbies                   $3,500.00                $0.00     $3,500.00           $3,500.00            $0.00

10.     Firearms                                               $0.00                $0.00         $0.00               $0.00            $0.00

11.     Clothes                                            $2,000.00                $0.00     $2,000.00           $2,000.00            $0.00

12.     Jewelry                                            $1,000.00                $0.00     $1,000.00           $1,000.00            $0.00

13.     Non-farm animals                                   $3,000.00                $0.00     $3,000.00           $3,000.00            $0.00

14.     Unlisted pers. and household items-                  $500.00                $0.00      $500.00              $500.00            $0.00
        incl. health aids

16.     Cash                                                   $0.00                $0.00         $0.00               $0.00            $0.00

17.     Deposits of money                                  $1,264.61                $0.00     $1,264.61               $0.00      $1,264.61

18.     Bonds, mutual funds or publicly                        $0.00                $0.00         $0.00               $0.00            $0.00
        traded stocks

19.     Non-pub. traded stock and int.                         $0.00                $0.00         $0.00               $0.00            $0.00
        in businesses

20.     Govt. and corp. bonds and other                        $0.00                $0.00         $0.00               $0.00            $0.00
        instruments

21.     Retirement or pension accounts                    $40,180.00                $0.00    $40,180.00          $40,180.00            $0.00

22.     Security deposits and prepayments                      $0.00                $0.00         $0.00               $0.00            $0.00

23.     Annuities                                              $0.00                $0.00         $0.00               $0.00            $0.00

24.     Interests in an education IRA                          $0.00                $0.00         $0.00               $0.00            $0.00

25.     Trusts, equit. or future int. (not in line 1)          $0.00                $0.00         $0.00               $0.00            $0.00

26.     Patents, copyrights, and other                         $0.00                $0.00         $0.00               $0.00            $0.00
        intellectual prop.
27.     Licenses, franchises, other                            $0.00                $0.00         $0.00               $0.00            $0.00
        general intangibles

28.     Tax refunds owed to you                                $0.00                $0.00         $0.00               $0.00            $0.00
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                                             UNITED STATES BANKRUPTCY COURT
                                                NORTHERN DISTRICT OF TEXAS
                                                   FORT WORTH DIVISION
  IN RE: Robert David Lain                                                                   CASE NO        22-40935-mxm7

                                                                                            CHAPTER         7

                            SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)
                                                              Continuation Sheet # 1
Exemption Totals by Category:
(Values and liens of surrendered property are NOT included in this section)                                     Scheme Selected: State
                                                           Gross                  Total             Total         Total Amount   Total Amount
No.     Category                                   Property Value         Encumbrances             Equity               Exempt    Non-Exempt


29.     Family support                                     $0.00                    $0.00          $0.00                $0.00            $0.00

30.     Other amounts someone owes you                     $0.00                    $0.00          $0.00                $0.00            $0.00

31.     Interests in insurance policies                    $0.00                    $0.00          $0.00                $0.00            $0.00

32.     Any int. in prop. due you from                     $0.00                    $0.00          $0.00                $0.00            $0.00
        someone who has died

33.     Claims vs. third parties, even               $800,000.00                    $0.00    $800,000.00                $0.00    $800,000.00
        if no demand

34.     Other contin. and unliq. claims                    $0.00                    $0.00          $0.00                $0.00            $0.00
        of every nature

35.     Any financial assets you did                       $0.00                    $0.00          $0.00                $0.00            $0.00
        not already list

38.     Accounts rec. or commissions you                   $0.00                    $0.00          $0.00                $0.00            $0.00
        already earned

39.     Office equipment, furnishings,                     $0.00                    $0.00          $0.00                $0.00            $0.00
        and supplies

40.     Mach., fixt., equip., bus. suppl.,                 $0.00                    $0.00          $0.00                $0.00            $0.00
        tools of trade

41.     Inventory                                          $0.00                    $0.00          $0.00                $0.00            $0.00

42.     Interests in partnerships or                       $0.00                    $0.00          $0.00                $0.00            $0.00
        joint ventures

43.     Customer and mailing lists, or                     $0.00                    $0.00          $0.00                $0.00            $0.00
        other compilations

44.     Any business-related property not                  $0.00                    $0.00          $0.00                $0.00            $0.00
        already listed

47.     Farm animals                                       $0.00                    $0.00          $0.00                $0.00            $0.00

48.     Crops--either growing or harvested                 $0.00                    $0.00          $0.00                $0.00            $0.00

49.     Farm/fishing equip., impl., mach.,                 $0.00                    $0.00          $0.00                $0.00            $0.00
        fixt., tools

50.     Farm and fishing supplies, chemicals,              $0.00                    $0.00          $0.00                $0.00            $0.00
        and feed

51.     Farm/commercial fishing-related prop.              $0.00                    $0.00          $0.00                $0.00            $0.00
        not listed

53.     Any other property of any kind not                 $0.00                    $0.00          $0.00                $0.00            $0.00
        already listed

                    TOTALS:                        $1,445,144.61              $420,446.00   $1,029,330.61         $228,066.00    $801,264.61
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                                             UNITED STATES BANKRUPTCY COURT
                                                NORTHERN DISTRICT OF TEXAS
                                                   FORT WORTH DIVISION
  IN RE: Robert David Lain                                                                    CASE NO        22-40935-mxm7

                                                                                             CHAPTER         7

                           SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)
                                                               Continuation Sheet # 2




Surrendered Property:
The following property is to be surrendered by the debtor. Although this property is NOT exempt, it is NOT considered "non-exempt" for purposes
of this analysis. The below listed items are to be returned to the lienholder.

  Property Description                                                                   Market Value                        Lien             Equity

Real Property
(None)
Personal Property
(None)


                   TOTALS:                                                                        $0.00                      $0.00                $0.00


Non-Exempt Property by Item:
The following property, or a portion thereof, is non-exempt.

  Property Description                                                 Market Value              Lien               Equity       Non-Exempt Amount

Real Property
(None)
Personal Property

Wells Fargo Checking account #                                               $1,264.61                           $1,264.61                $1,264.61

Claim against Robert Chad Higgs, former owner of Texas Speed               $800,000.00                      $800,000.00                 $800,000.00


                   TOTALS:                                                 $801,264.61          $0.00       $801,264.61                 $801,264.61




                                                                Summary
            A. Gross Property Value (not including surrendered property)                                            $1,445,144.61

            B. Gross Property Value of Surrendered Property                                                                   $0.00

            C. Total Gross Property Value (A+B)                                                                     $1,445,144.61

            D. Gross Amount of Encumbrances (not including surrendered property)                                      $420,446.00

            E. Gross Amount of Encumbrances on Surrendered Property                                                           $0.00

            F. Total Gross Encumbrances (D+E)                                                                         $420,446.00

            G. Total Equity (not including surrendered property) / (A-D)                                            $1,029,330.61

            H. Total Equity in surrendered items (B-E)                                                                        $0.00

            I. Total Equity (C-F)                                                                                   $1,029,330.61

            J. Total Exemptions Claimed                                                                               $228,066.00

            K. Total Non-Exempt Property Remaining (G-J)                                                             $801,264.61
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  Fill in this information to identify your case:
  Debtor 1             Robert                David                  Lain
                       First Name            Middle Name            Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

  Case number          22-40935-mxm7                                                                                   Check if this is an
  (if known)
                                                                                                                       amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                     12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form.
On the top of any additional pages, write your name and case number (if known).


1.      Do any creditors have claims secured by your property?
             No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below.


  Part 1:         List All Secured Claims

2.      List all secured claims. If a creditor has more than one secured
        claim, list the creditor separately for each claim. If more than one             Column A               Column B               Column C
        creditor has a particular claim, list the other creditors in Part 2. As          Amount of claim        Value of collateral    Unsecured
        much as possible, list the claims in alphabetical order according to the         Do not deduct the      that supports this     portion
        creditor's name.                                                                 value of collateral    claim                  If any

  2.1                                            Describe the property that
                                                 secures the claim:                            $43,202.00              $45,000.00
Fort Worth Community Credit Union 2019 Infiniti QX80
Creditor's name
Attn: Bankruptcy
Number       Street
PO Box 210848
                                                 As of the date you file, the claim is: Check all that apply.
                                                     Contingent
Bedford                  TX      76095               Unliquidated
City                     State   ZIP Code
                                                     Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Automobile
   to a community debt
Date debt was incurred           11/2019         Last 4 digits of account number        0     1    2    5




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                              $43,202.00

Official Form 106D                          Schedule D: Creditors Who Have Claims Secured by Property                                         page 1
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Debtor 1      Robert David Lain                                                           Case number (if known)      22-40935-mxm7

                  Additional Page                                                     Column A               Column B              Column C
  Part 1:                                                                             Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                 If any

  2.2                                         Describe the property that
                                              secures the claim:                           $320,759.00             $477,000.00
Freedom Mortgage Corporation                  4405 Thorp Lane, Keller, TX
Creditor's name
Attn: Bankruptcy                              76244
Number     Street
907 Pleasant Valley Ave, Ste 3
                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Mt Laurel               NJ      08054             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                FHA Real Estate Mortgage
   to a community debt
Date debt was incurred          06/2020       Last 4 digits of account number        9     4    7    7

  2.3                                         Describe the property that
                                              secures the claim:                            $10,632.00                $6,000.00        $4,632.00
Greenwood Credit Union
Creditor's name
                                              1954 Chevrolet Pickup 3100 -
Attn: Bankruptcy                              shell only no motor
Number     Street
2669 Post Rd
                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Warwick                 RI      02886             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Automobile
   to a community debt
Date debt was incurred          06/2020       Last 4 digits of account number        8     8    6    2




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                          $331,391.00

Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 2
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Debtor 1      Robert David Lain                                                           Case number (if known)      22-40935-mxm7

                  Additional Page                                                     Column A               Column B              Column C
  Part 1:                                                                             Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                 If any

  2.4                                         Describe the property that
                                              secures the claim:                            $57,600.00                    $0.00       $57,600.00
Secret Properties                             6580 Dick Price Rd,
Creditor's name
PO Box 213                                    MansfieldTX 76063
Number     Street


                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Kennedale               TX      76060             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Commercial lease
   to a community debt
Date debt was incurred                        Last 4 digits of account number
Monthly lease payment $6400 for 2 buildings
  2.5                                         Describe the property that
                                              secures the claim:                            $45,853.00              $46,000.00
Texas Trust Credit Union
Creditor's name
                                              2019 Ford F250 Super Duty
Attn: Bankruptcy                              Dual Axle Diesel
Number     Street
PO Box 2260
                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Mansfield               TX      76063             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Automobile
   to a community debt
Date debt was incurred          05/2020       Last 4 digits of account number        0     0    0    1




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                          $103,453.00

If this is the last page of your form, add the dollar value totals from
all pages. Write that number here:                                                         $478,046.00

Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 3
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  Fill in this information to identify your case:
  Debtor 1             Robert                David                  Lain
                       First Name            Middle Name            Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

  Case number          22-40935-mxm7                                                                                    Check if this is an
  (if known)
                                                                                                                        amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                   12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G).
Do not include any creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property.
If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page
to this page. On the top of any additional pages, write your name and case number (if known).


  Part 1:        List All of Your PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims against you?
            No. Go to Part 2.
            Yes.

2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each
       claim. For each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and
       show both priority and nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If
       more space is needed for priority unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular
       claim, list the other creditors in Part 3.

       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.
                                                                                                      Total claim       Priority              Nonpriority
                                                                                                                        amount                amount

     2.1


Priority Creditor's Name                                   Last 4 digits of account number
                                                           When was the debt incurred?
Number       Street
                                                           As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
City                            State   ZIP Code
Who incurred the debt? Check one.                          Type of PRIORITY unsecured claim:
     Debtor 1 only                                            Domestic support obligations
     Debtor 2 only                                            Taxes and certain other debts you owe the government
     Debtor 1 and Debtor 2 only                               Claims for death or personal injury while you were
     At least one of the debtors and another                  intoxicated
     Check if this claim is for a community debt              Other. Specify
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 1
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Debtor 1       Robert David Lain                                                                Case number (if known)      22-40935-mxm7

  Part 2:        List All of Your NONPRIORITY Unsecured Claims

3.     Do any creditors have nonpriority unsecured claims against you?
            No. You have nothing to report in this part. Submit this form to the court with your other schedules.
            Yes

4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim.
       If a creditor has more than one nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what
       type of claim it is. Do not list claims already included in Part 1. If more than one creditor holds a particular claim, list the other creditors in
       Part 3. If more space is needed for nonpriority unsecured claims, fill out the Continuation Page of Part 2.

                                                                                                                                              Total claim

     4.1                                                                                                                                          $4,500.00
A.J. McClought                                              Last 4 digits of account number               7    9     0
Nonpriority Creditor's Name
                                                            When was the debt incurred?
370 N. State Hwy 360
Number        Street                                        As of the date you file, the claim is: Check all that apply.
Apt. 4200                                                       Contingent
                                                                Unliquidated
                                                                Disputed
Mansfield                       TX      76063
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Services
Is the claim subject to offset?
     No
     Yes
1964 Pontiac LeMans

     4.2                                                                                                                                        $15,640.00
Abel Carmona                                                Last 4 digits of account number               7    1     4
Nonpriority Creditor's Name
                                                            When was the debt incurred?
2501 FM 718
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Rhome                           TX      76078
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Deposit for work not completed
Is the claim subject to offset?
     No
     Yes
1963 Chevy Impala




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Debtor 1       Robert David Lain                                                           Case number (if known)       22-40935-mxm7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

   4.3                                                                                                                              $38,500.00
Adrian Sanchez                                           Last 4 digits of account number            7    7    9
Nonpriority Creditor's Name
                                                         When was the debt incurred?
102 Brookview Ct.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Waxahachie                    TX      75165
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes
1985 Chevy C10 Light Blue

   4.4                                                                                                                                  $4,000.00
Alberto Martinez                                         Last 4 digits of account number            8    1    8
Nonpriority Creditor's Name
                                                         When was the debt incurred?
202 Latimer St
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Ennis                         TX      75119
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes
1963 White GMC C1500




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  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

   4.5                                                                                                                                  $6,500.00
Alex Collums *                                           Last 4 digits of account number       0    0    1    9
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed

City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes
1983 Chevrolet C10

   4.6                                                                                                                                  $3,500.00
Alexander Perez *                                        Last 4 digits of account number            8    8    8
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed

City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes
1983 Chevrolet C10




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  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

   4.7                                                                                                                              $53,535.62
American Express                                         Last 4 digits of account number       1    0    0    6
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 981535
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
El Paso                       TX      79998
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

   4.8                                                                                                                                  $4,200.00
Andres Santiago                                          Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?        8/21/2020
219 Adventus Ct
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Mansfield                     TX      76063
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes
vehichle in his possession




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  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

   4.9                                                                                                                              $10,360.00
Andrew Hernandez                                         Last 4 digits of account number          8 0         3
Nonpriority Creditor's Name
                                                         When was the debt incurred?        3/30/2021
1321 W Broadus Ave.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Fort Worth.                   TX      76115
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes
vehichle still at shop
1998 GMC Sierra

  4.10                                                                                                                              $10,000.00
Andy Gutierrez*                                          Last 4 digits of account number       0    0    3    4
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed

City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes
2001 Ford Mustang GT




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  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.11                                                                                                                                  $4,500.00
Arthur Page*                                             Last 4 digits of account number            8    2    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed

City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes
1972 Chevy K10

  4.12                                                                                                                                  $9,000.00
Artiss Williams*                                         Last 4 digits of account number            8    8    6
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed

City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes
1958 Chevy Apache




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  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                   Total claim
previous page.

  4.13                                                                                                                                  $6,000.00
Bennie Davis                                             Last 4 digits of account number            7    5    6
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed

City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes
1995 Chevrolet Impala


  4.14                                                                                                                                  $5,000.00
Bernanrdo Avelar                                         Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?        7/1/2020
5106 Cabin Lake Dr.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
San Antonio                   TX      78244
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposits
Is the claim subject to offset?
     No
     Yes
1985 Chevy C10
making plans for pick up




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  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                   Total claim
previous page.

  4.15                                                                                                                                  $4,500.00
Bill Leonard*                                            Last 4 digits of account number            8    9    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed

City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes
1984 Chevy C-10 Blue

  4.16                                                                                                                                  $4,500.00
Bob Schofield*                                           Last 4 digits of account number            7    4    9
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed

City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes
1955 F-100 Orange




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  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.17                                                                                                                                  $4,500.00
Brandon Atkins                                           Last 4 digits of account number          7 3         4
Nonpriority Creditor's Name
                                                         When was the debt incurred?        12/21/2020
921 Wilderness Pass
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Cedar Hill                    TX      75014
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes
1996 Chevy Impala


  4.18                                                                                                                                  $6,000.00
Brent Beck                                               Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?        8/1/2020
815 E. 3rd street
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Lancaster                     TX      75146
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposits
Is the claim subject to offset?
     No
     Yes
1976 Chevy Impala-red




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  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.19                                                                                                                                  $5,000.00
Caleb Harbson                                            Last 4 digits of account number            9    3    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?
8 Pinedale Ct.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Mansfield                     TX      76063
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes
1967 Chevy C10

  4.20                                                                                                                                  $4,500.00
Carollton Taylor*                                        Last 4 digits of account number       0    0    6    9
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed

City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes
Chevelle




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  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.21                                                                                                                                  $5,000.00
Cesar Argoaze*                                           Last 4 digits of account number            9    3    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed

City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes
1968 Chevy C10

  4.22                                                                                                                              $11,500.00
Charles Bancroft*                                        Last 4 digits of account number            7    5    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed

City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes
1968 Chevy C10




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  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.23                                                                                                                                  $8,500.00
Chris Howell*                                            Last 4 digits of account number            7    2    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed

City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes
1973 Chevrolet C10 swb

  4.24                                                                                                                                  $3,500.00
Chris Rush                                               Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 2590
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Peter Park                    TX      78613
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes




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                                                                                                                                   Total claim
previous page.

  4.25                                                                                                                              $12,050.00
CJ Allen*                                                Last 4 digits of account number            7    6    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed

City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes
1971 Chevy K10

  4.26                                                                                                                                    $0.00
Cody Gerth                                               Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
5225 Calloway Dt
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Unit B                                                       Contingent
                                                             Unliquidated
                                                             Disputed
Fort Worth                    TX      76114
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposti
Is the claim subject to offset?
     No
     Yes
817-378-6135




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                                                                                                                                   Total claim
previous page.

  4.27                                                                                                                                  $3,038.00
Comenity/Alphaeoncos                                     Last 4 digits of account number      2 0        9    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?        05/2020
Attn: Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 182125                                                Contingent
                                                             Unliquidated
                                                             Disputed
Columbus                      OH      43218
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

  4.28                                                                                                                              $24,500.00
Craig Harr*                                              Last 4 digits of account number       0    0    0    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed

City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes
1969 Camaro Pro Touring Build




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                                                                                                                                   Total claim
previous page.

  4.29                                                                                                                                  $8,300.00
Dave Clayton                                             Last 4 digits of account number            7    3    6
Nonpriority Creditor's Name
                                                         When was the debt incurred?
2204 Del Ray Ct.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Arlington                     TX      76013
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes
1952 Poniac Chieftan Green

  4.30                                                                                                                              $17,000.00
Devonta Gardner                                          Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed

City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes




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                                                                                                                                   Total claim
previous page.

  4.31                                                                                                                                  $6,700.00
Dimairo Mark                                             Last 4 digits of account number          7 2         5
Nonpriority Creditor's Name
                                                         When was the debt incurred?        09/1/2020
414 Elmo St.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Cleburne                      TX      76031
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes
Vehicle still there
1964 Chevy C10

  4.32                                                                                                                                  $2,500.00
Doug Tierney                                             Last 4 digits of account number          7 3         1
Nonpriority Creditor's Name
                                                         When was the debt incurred?        12/21/2020
131 Saddlebrook Ct.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Rome                          TX      76078
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes
DP $ 2,400
Missing car parts $1,000
1956 Chevy Bel Air Coupe




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                                                                                                                                   Total claim
previous page.

  4.33                                                                                                                                  $2,400.00
Dylen Grezlik*                                           Last 4 digits of account number            6    5    8
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed

City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes
1971 Ford E300 Light Green Van

  4.34                                                                                                                                  $6,000.00
Eric Hayden                                              Last 4 digits of account number            7    4    7
Nonpriority Creditor's Name
                                                         When was the debt incurred?
9153 Watercress Dr
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Fort Worth                    TX      76135
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes
1967 Chevrolet Camaro




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                                                                                                                                   Total claim
previous page.

  4.35                                                                                                                                  $4,200.00
Erney Gomez*                                             Last 4 digits of account number            8    6    4
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed

City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes
1962 Chevy Impala

  4.36                                                                                                                                  $4,000.00
Fernando Zamudio*                                        Last 4 digits of account number            6    7    5
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed

City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes
1971 gmc C10 white




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                                                                                                                                   Total claim
previous page.

  4.37                                                                                                                                  $3,800.00
Greg Moakes                                              Last 4 digits of account number            6    8    9
Nonpriority Creditor's Name
                                                         When was the debt incurred?
3985 Davila Dr
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Dallas, TX 7220                                              Contingent
                                                             Unliquidated
                                                             Disputed

City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes
1990 Jeep Grand Wagoneer
214-425-5733

  4.38                                                                                                                                  $7,000.00
H&A Greenly Transport                                    Last 4 digits of account number            8    2    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?
aka Harlan Greenlee
Number        Street                                     As of the date you file, the claim is: Check all that apply.
8116 Jolie Dr.                                               Contingent
                                                             Unliquidated
                                                             Disputed
Fort Worth                    TX      76137
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes
1986 Oldsmobile Cutless G-Body
817-721-6150




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                                                                                                                                   Total claim
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  4.39                                                                                                                                  $6,000.00
Heston Williams                                          Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?        10/19/2021
8424 Deerwood Forest Dr.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Fort Worth                    TX      76126
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes

  4.40                                                                                                                                  $2,800.00
Isi Faiva*                                               Last 4 digits of account number            7    3    8
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed

City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes
1963 Pontiac Bonniville Blue




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                                                                                                                                   Total claim
previous page.

  4.41                                                                                                                                  $3,800.00
Jared Harrison                                           Last 4 digits of account number          7 4         2
Nonpriority Creditor's Name
                                                         When was the debt incurred?        12/30/2020
522 Glacial Stream Lan
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Cedar Park                    TX      78613
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes
1987 Monte Carlo SS
Picked up car on 4/12/2022

  4.42                                                                                                                                  $6,800.00
Jared Powell*                                            Last 4 digits of account number            6    8    8
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed

City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes
1974 International Scout




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                                                                                                                                   Total claim
previous page.

  4.43                                                                                                                                  $4,500.00
Jason Choate*                                            Last 4 digits of account number            7    6    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed

City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes
1982 Chevrolet C10

  4.44                                                                                                                                  $8,000.00
Jason DuBose*                                            Last 4 digits of account number       0    0    0    9
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed

City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes
1972 Green Cuda




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                                                                                                                                   Total claim
previous page.

  4.45                                                                                                                                  $3,500.00
Jason Langley                                            Last 4 digits of account number            8    8    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?
165 Roscoe Ln.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Midlothian                    TX      76065
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes
2000 Chevy 1500

  4.46                                                                                                                              $13,160.00
Javier Perez*                                            Last 4 digits of account number            8    1    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed

City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes
1972 Chevy C10 Black




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  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                   Total claim
previous page.

  4.47                                                                                                                                  $4,000.00
Jay Bishop*                                              Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed

City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes

  4.48                                                                                                                                  $3,000.00
Jerry Bluitt                                             Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?        10/1/2020
240 FM 3039
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Combine                       TX      75159
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes




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                                                                                                                                   Total claim
previous page.

  4.49                                                                                                                                  $7,300.00
Jessie Faz                                               Last 4 digits of account number          7 8         4
Nonpriority Creditor's Name
                                                         When was the debt incurred?        03/01/2021
2338 Rexlawn Dr.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Dallas                        TX      75227
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes
He has vehicle in his possession
1984 Buick Regal

  4.50                                                                                                                                  $3,500.00
Joe Portales*                                            Last 4 digits of account number            7    3    9
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed

City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes
1951 Chevy 3100




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                                                                                                                                   Total claim
previous page.

  4.51                                                                                                                              $14,440.00
Joe Rodarte*                                             Last 4 digits of account number            8    0    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed

City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes
1970 GMC C10/1500

  4.52                                                                                                                                  $6,000.00
Johnny Davila                                            Last 4 digits of account number          7 0         4
Nonpriority Creditor's Name
                                                         When was the debt incurred?        11/4/2020
5713 Meandeing Rd.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
River Oaks                    TX      76114
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes
1981 Poniac Trans Am




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                                                                                                                                   Total claim
previous page.

  4.53                                                                                                                                  $6,900.00
Jon Cheesbro*                                            Last 4 digits of account number            7    9    9
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed

City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes
1970 Chevy K5 Blazer

  4.54                                                                                                                                  $8,000.00
Jorge Ordaz*                                             Last 4 digits of account number       0    0    5    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed

City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes
1970 Chevrolet Chevelle




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                                                                                                                                   Total claim
previous page.

  4.55                                                                                                                                  $6,700.00
Joseph Couch                                             Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?        5/6/2020
1034 Balsam Dr.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Arlington                     TX      76006
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes

  4.56                                                                                                                                  $4,000.00
Joseph Neyar*                                            Last 4 digits of account number            8    5    8
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed

City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes
1973 Dodge Dart




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                                                                                                                                   Total claim
previous page.

  4.57                                                                                                                                  $2,000.00
Josh Watt                                                Last 4 digits of account number            8    7    5
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed

City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes
1968 Chevy Camaro

  4.58                                                                                                                                  $3,400.00
Josh*                                                    Last 4 digits of account number            7    2    9
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed

City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes
1987 Chevy K5 Blazer




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                                                                                                                                   Total claim
previous page.

  4.59                                                                                                                                  $3,800.00
Juan Hernandez*                                          Last 4 digits of account number            7    5    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed

City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes
2014 Chevy silvardo

  4.60                                                                                                                                  $4,500.00
Justin Hall*                                             Last 4 digits of account number            9    0    6
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed

City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes
1968 Buick Riviera (Green)




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                                                                                                                                   Total claim
previous page.

  4.61                                                                                                                              $10,000.00
Justin Hess                                              Last 4 digits of account number      0 0 7           0
Nonpriority Creditor's Name
                                                         When was the debt incurred?        08/01/2020
5420 Medlin Ct.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Flower Mound                  TX      75028
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes
vehicle still at shop
2007 Maza RX-8 White

  4.62                                                                                                                                  $1,000.00
Kenny Lewis                                              Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?        4/15/2021
4204 Summit Ridge Dr.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Dallas                        TX      75216
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes
veihcle still at shop
1979 Chevy C10 pickup




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                                                                                                                                   Total claim
previous page.

  4.63                                                                                                                                  $4,500.00
Kent Wylie                                               Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?        6/15/2021
1732 Steam Boat dr
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Plano                         TX      75025
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes

  4.64                                                                                                                                  $6,000.00
Kevin Burnham*                                           Last 4 digits of account number            8    9    5
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed

City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes
2000 Chevy Camaro Silver




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                                                                                                                                   Total claim
previous page.

  4.65                                                                                                                                  $8,800.00
Klaus Christopher*                                       Last 4 digits of account number            7    7    7
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed

City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes
1976 GMC G20 Van Dodge Brown

  4.66                                                                                                                                  $5,000.00
Lawrence Sharp                                           Last 4 digits of account number            7    4    5
Nonpriority Creditor's Name
                                                         When was the debt incurred?
125 Hidalgo Ln.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Arlington                     TX      76014
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes
2001 Chevy S10 Silver




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                                                                                                                                   Total claim
previous page.

  4.67                                                                                                                              $10,000.00
Luis Jessi*                                              Last 4 digits of account number            9    1    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed

City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes
1971 Chevy Chevelle

  4.68                                                                                                                                  $4,000.00
Mark Noble*                                              Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed

City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes




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                                                                                                                                   Total claim
previous page.

  4.69                                                                                                                                  $8,260.00
Mark Perez                                               Last 4 digits of account number          8 1         1
Nonpriority Creditor's Name
                                                         When was the debt incurred?        4/16/2021
Suite 131-197
Number        Street                                     As of the date you file, the claim is: Check all that apply.
4621 S. Cooper                                               Contingent
                                                             Unliquidated
                                                             Disputed
Arlington                     TX      76017
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes
Vehicle still at shop
1971 Chevy K5 Blazer

  4.70                                                                                                                                  $3,040.00
Mark Rendon*                                             Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed

City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes




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                                                                                                                                   Total claim
previous page.

  4.71                                                                                                                              $19,400.00
Mark Zello*                                              Last 4 digits of account number       0    0    6    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed

City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes
1975 Chevy Corvette Convert

  4.72                                                                                                                              $10,000.00
Mason Justice*                                           Last 4 digits of account number            8    5    6
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed

City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes
1974 Cheverlet Nova




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                                                                                                                                   Total claim
previous page.

  4.73                                                                                                                              $16,000.00
Matt Dixon                                               Last 4 digits of account number            8    4    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?
4913 Batton Rouge Bvd.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Frisco                        TX      75035
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes
1998 Jeep Cherokee

  4.74                                                                                                                                  $2,800.00
Michael Pait                                             Last 4 digits of account number            7    0    9
Nonpriority Creditor's Name
                                                         When was the debt incurred?
474 Charleston Park
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Conroe                        TX      77302
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes
1980 Datsun 280zx Brown




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                                                                                                                                   Total claim
previous page.

  4.75                                                                                                                                     $0.00
Mike Musser*                                             Last 4 digits of account number       0    0    5    4
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed

City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes
1952 Chevy 3100

  4.76                                                                                                                                  $3,400.00
Monica Jaime                                             Last 4 digits of account number          7 2         8
Nonpriority Creditor's Name
                                                         When was the debt incurred?        12/14/2020
244 Cotton Dr.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Mansfield                     TX      76063
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes
1973 Ford F-100 swb




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                                                                                                                                   Total claim
previous page.

  4.77                                                                                                                              $78,000.00
National Funding Inc.                                    Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
9530 Towne Centre Drive, Suite 120
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
San Diego                     CA      92121
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Merchant Cash Advance
Is the claim subject to offset?
     No
     Yes

  4.78                                                                                                                             $118,888.00
National Funding, Inc.                                   Last 4 digits of account number       2    4    7    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?
9530 Towne Centre Drive, Ste 120
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
San Diego                     CA      92121
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Loan
Is the claim subject to offset?
     No
     Yes




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                                                                                                                                   Total claim
previous page.

  4.79                                                                                                                                  $6,000.00
Orlando Castillon*                                       Last 4 digits of account number            9    0    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed

City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes
1967 Pontiac Firebird

  4.80                                                                                                                                     $0.00
Pacer Duddington                                         Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
15927 Viney Creek Dr.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Houston                       TX      77095
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes
817-995-4886
1997 Chevy Tahoe




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                                                                                                                                   Total claim
previous page.

  4.81                                                                                                                                  $5,500.00
Pepe "Steve" Segovia                                     Last 4 digits of account number            8    2    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?
113 Red Wolf Ln
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Red Oak                       TX      75154
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes
1968 Dodge D200

  4.82                                                                                                                              $14,500.00
Randy Williams                                           Last 4 digits of account number          7 8         0
Nonpriority Creditor's Name
                                                         When was the debt incurred?        11/15/2020
400 Preston Blvd. Apt.18
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Bossier City, Louisiana. 71111                               Contingent
                                                             Unliquidated
                                                             Disputed

City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes
1976 Chevy Caprice-white




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                                                                                                                                   Total claim
previous page.

  4.83                                                                                                                              $20,000.00
Raunel Tejeda Exodus*                                    Last 4 digits of account number            6    6    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed

City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes
1984 Chevy C-10 Green

  4.84                                                                                                                             $107,876.00
Reliant Funding                                          Last 4 digits of account number       7    2    3    9
Nonpriority Creditor's Name
                                                         When was the debt incurred?
9540 Towne Centre Drive, Suite 200
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
San Diego                     CA      92142
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Merchant Cash Advance
Is the claim subject to offset?
     No
     Yes




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                                                                                                                                   Total claim
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  4.85                                                                                                                             $142,900.00
Reliant Funding                                          Last 4 digits of account number       7    2    3    9
Nonpriority Creditor's Name
                                                         When was the debt incurred?
9540 Town Centre Drive, Suite 200
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
San Diego                     CA      92142
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Merchant Cash Advance
Is the claim subject to offset?
     No
     Yes

  4.86                                                                                                                                  $5,000.00
Ricky Peyton*                                            Last 4 digits of account number            8    3    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed

City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes
1985 Chevy C10 Swb




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                                                                                                                                   Total claim
previous page.

  4.87                                                                                                                                  $7,000.00
Robert Beman*                                            Last 4 digits of account number            7    1    9
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed

City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes
1968 Chevrolet Camaro

  4.88                                                                                                                                  $5,600.00
Robert Chenoweth                                         Last 4 digits of account number          7 4         1
Nonpriority Creditor's Name
                                                         When was the debt incurred?        11/1/2020
16280 E. Secretariat Dr.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Loxahatchee, Florida. 33470                                  Contingent
                                                             Unliquidated
                                                             Disputed

City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposits
Is the claim subject to offset?
     No
     Yes
1953 Chevy 3100-dusty red




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                                                                                                                                   Total claim
previous page.

  4.89                                                                                                                                  $4,700.00
Robert Johnson                                           Last 4 digits of account number      0 0 6           5
Nonpriority Creditor's Name
                                                         When was the debt incurred?        9/15/2020
6000 King William Dr.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Arlington                     TX      76018
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes
1989 Camaro-red

  4.90                                                                                                                                  $6,000.00
Robert Skelton                                           Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
8208 Tamarron Dr.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Waxahachie                    TX      75167
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes
1982 CHEVY C10




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                                                                                                                                   Total claim
previous page.

  4.91                                                                                                                              $11,500.00
Ruben Ramon*                                             Last 4 digits of account number            7    4    4
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed

City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes
1990 Chevy 454 1500 Black

  4.92                                                                                                                                  $6,000.00
Russell Blum                                             Last 4 digits of account number            9    0    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?
3615 Hollow Cfreek Rd
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Arlington                     TX      76001
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes
1975 Chevy Corvette Convert




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                        page 47
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Debtor 1       Robert David Lain                                                           Case number (if known)       22-40935-mxm7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.93                                                                                                                              $28,000.00
Ryan Khan                                                Last 4 digits of account number            7    9    4
Nonpriority Creditor's Name
                                                         When was the debt incurred?
2003 W. Pioneer Parkway #B
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Arlington                     TX      76013
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes
1969 Dodge Challenger

  4.94                                                                                                                                  $2,800.00
Sam Florez*                                              Last 4 digits of account number            7    1    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed

City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes
1966 Chevy Impala




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                        page 48
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Debtor 1       Robert David Lain                                                           Case number (if known)       22-40935-mxm7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.95                                                                                                                                  $8,200.00
Scott Bridgman                                           Last 4 digits of account number            7    9    7
Nonpriority Creditor's Name
                                                         When was the debt incurred?
717 S. Greenville Ave Suite 100
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Allen                         TX      75002
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes
2004 Nissan 350Z Silver

  4.96                                                                                                                                  $4,500.00
Scott Klor                                               Last 4 digits of account number          8 1         2
Nonpriority Creditor's Name
                                                         When was the debt incurred?        04/1/2021
501 Chelsea Dr.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Midlothian                    TX      76065
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposits
Is the claim subject to offset?
     No
     Yes
Picked up vehicle. Missing motor.
1982 Toyota Land Cruiser FJ6




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                        page 49
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Debtor 1       Robert David Lain                                                           Case number (if known)       22-40935-mxm7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.97                                                                                                                              $70,400.00
Secret Properties                                        Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 213
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Kennedale                     TX      76060
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Commercial Lease for Texas Speed Dynamics
Is the claim subject to offset?
     No
     Yes

  4.98                                                                                                                              $17,500.00
Shanna Terry*                                            Last 4 digits of account number            6    8    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed

City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes
1967 Corvette Sting Ray Blue/White one




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                       page 50
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Debtor 1       Robert David Lain                                                           Case number (if known)       22-40935-mxm7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.99                                                                                                                                    $0.00
Taylor Massey*                                           Last 4 digits of account number       0    0    8    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed

City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes
1985 Broncho Tan

 4.100                                                                                                                              $28,200.00
Terry Cenerly*                                           Last 4 digits of account number       0    0    2    9
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed

City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes
1970 Chevy Chevelle




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                       page 51
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Debtor 1       Robert David Lain                                                           Case number (if known)       22-40935-mxm7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

 4.101                                                                                                                              $13,500.00
Tony Alvarez                                             Last 4 digits of account number            8    5    5
Nonpriority Creditor's Name
                                                         When was the debt incurred?
6412 Redstone Drive
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Arlington                     TX      76001
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit for work not completed
Is the claim subject to offset?
     No
     Yes
1986 Chevy C10 Red

 4.102                                                                                                                                  $5,000.00
Tony Alvarez                                             Last 4 digits of account number      0 0        4    9
Nonpriority Creditor's Name
                                                         When was the debt incurred?        02/2022
6412 Redstone Drive
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Arlington                     TX      76001
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit paid for work not completed
Is the claim subject to offset?
     No
     Yes
1983 Chevy C10 Blue




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                        page 52
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Debtor 1       Robert David Lain                                                           Case number (if known)       22-40935-mxm7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

 4.103                                                                                                                                  $4,500.00
Vince*                                                   Last 4 digits of account number            8    5    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed

City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Deposit
Is the claim subject to offset?
     No
     Yes
Toyota FJ40

 4.104                                                                                                                              $20,321.00
Wells Fargo Bank NA                                      Last 4 digits of account number      5 5        0    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?        09/2013
1 Home Campus MAC X2303-01A
Number        Street                                     As of the date you file, the claim is: Check all that apply.
3rd Floor                                                    Contingent
                                                             Unliquidated
                                                             Disputed
Des Moines                    IA      50328
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                        page 53
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Debtor 1       Robert David Lain                                                           Case number (if known)       22-40935-mxm7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

 4.105                                                                                                                              $93,032.00
Wells Fargo Bank NA                                      Last 4 digits of account number      0 0        0    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?        11/2021
Attn: Wells Fargo Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
435 Ford Road, Suite 300                                     Contingent
                                                             Unliquidated
                                                             Disputed
Saint Lewis Park              MN      55426
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Note Loan
Is the claim subject to offset?
     No
     Yes

 4.106                                                                                                                              $11,436.91
Wells Fargo MC/VISA                                      Last 4 digits of account number       5    7    3    7
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 29482
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Phoenix                       AZ      85038
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                       page 54
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Debtor 1       Robert David Lain                                                           Case number (if known)    22-40935-mxm7

  Part 3:        List Others to Be Notified About a Debt That You Already Listed

5.     Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2.
       For example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original
       creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you have more than one creditor for any of the
       debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional parties to be notified for
       any debts in Parts 1 or 2, do not fill out or submit this page.


Clayton Everett                                             On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Norred Law, PLLC                                            Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street
515 E. Border Street                                                                            Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
Arlington                       TX      76010
City                            State   ZIP Code




Official Form 106E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                             page 55
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Debtor 1       Robert David Lain                                                       Case number (if known)        22-40935-mxm7

 Part 4:        Add the Amounts for Each Type of Unsecured Claim

6.   Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only.
     28 U.S.C. § 159. Add the amounts for each type of unsecured claim.


                                                                                                               Total claim

Total claims      6a. Domestic support obligations                                                   6a.                     $0.00
from Part 1
                  6b. Taxes and certain other debts you owe the government                           6b.                     $0.00

                  6c. Claims for death or personal injury while you were intoxicated                 6c.                     $0.00

                  6d. Other. Add all other priority unsecured claims. Write that amount here.        6d.   +                 $0.00


                  6e. Total.     Add lines 6a through 6d.                                            6d.                     $0.00




                                                                                                               Total claim

Total claims      6f.   Student loans                                                                6f.                     $0.00
from Part 2
                  6g. Obligations arising out of a separation agreement or divorce                   6g.                     $0.00
                      that you did not report as priority claims

                  6h. Debts to pension or profit-sharing plans, and other similar                    6h.                     $0.00
                      debts

                  6i.   Other. Add all other nonpriority unsecured claims. Write that amount here.   6i.   +      $1,419,377.53


                  6j.   Total.   Add lines 6f through 6i.                                            6j.          $1,419,377.53




Official Form 106E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                      page 56
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 Fill in this information to identify your case:
 Debtor 1             Robert                David                  Lain
                      First Name            Middle Name            Last Name

 Debtor 2
 (Spouse, if filing) First Name             Middle Name            Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number          22-40935-mxm7                                                                                   Check if this is an
 (if known)
                                                                                                                      amended filing

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page.
On the top of any additional pages, write your name and case number (if known).


1.     Do you have any executory contracts or unexpired leases?
            No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
            Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease
       is for (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of
       executory contracts and unexpired leases.

          Person or company with whom you have the contract or lease                   State what the contract or lease is for

 2.1      Secret Properties                                                            Commercial Lease for Texas Speed Dynamics
          Name                                                                         Contract to be REJECTED
          PO Box 213
          Number    Street



          Kennedale                                    TX        76060
          City                                         State     ZIP Code




Official Form 106G                            Schedule G: Executory Contracts and Unexpired Leases                                                 page 1
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 Fill in this information to identify your case:
 Debtor 1              Robert                 David                       Lain
                       First Name             Middle Name                 Last Name

 Debtor 2
 (Spouse, if filing) First Name               Middle Name                 Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number           22-40935-mxm7                                                                                        Check if this is an
 (if known)
                                                                                                                            amended filing



Official Form 106H
Schedule H: Your Codebtors                                                                                                                         12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If
two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this
page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.


1.    Do you have any codebtors?          (If you are filing a joint case, do not list either spouse as a codebtor.)
          No
          Yes

2.    Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories
      include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
               No
               Yes
                In which community state or territory did you live?                   Texas     Fill in the name and current address of that person.

                Debra Jean Lain
                Name of your spouse, former spouse, or legal equivalent
                4405 Thorp Lane
                Number          Street


                Keller                                          TX               76244
                City                                            State            ZIP Code

3.    In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the
      person shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the
      creditor on Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use
      Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

         Column 1: Your codebtor                                                                 Column 2: The creditor to whom you owe the debt

                                                                                                 Check all schedules that apply:

3.1      Debra Lain
         Name                                                                                          Schedule D, line        2.2
         4405 Thorp Lane                                                                               Schedule E/F, line
         Number        Street
                                                                                                       Schedule G, line

         Keller                                         TX                76244                  Freedom Mortgage Corporation
         City                                           State             ZIP Code




Official Form 106H                                               Schedule H: Your Codebtors                                                            page 1
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Debtor 1      Robert David Lain                                          Case number (if known)       22-40935-mxm7

               Additional Page to List More Codebtors

       Column 1: Your codebtor                                               Column 2: The creditor to whom you owe the debt

                                                                             Check all schedules that apply:

3.2    Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line
       Number        Street
                                                                                                         4.1
                                                                                 Schedule G, line

       Keller                           TX          76244                    A.J. McClought
       City                             State       ZIP Code


3.3    Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line      4.2
       Number        Street
                                                                                 Schedule G, line

       Keller                           TX          76244                    Abel Carmona
       City                             State       ZIP Code


3.4    Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line
       Number        Street
                                                                                                         4.3
                                                                                 Schedule G, line

       Keller                           TX          76244                    Adrian Sanchez
       City                             State       ZIP Code


3.5    Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line
       Number        Street
                                                                                                         4.4
                                                                                 Schedule G, line

       Keller                           TX          76244                    Alberto Martinez
       City                             State       ZIP Code


3.6    Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line
       Number        Street
                                                                                                         4.5
                                                                                 Schedule G, line

       Keller                           TX          76244                    Alex Collums *
       City                             State       ZIP Code


3.7    Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line      4.6
       Number        Street
                                                                                 Schedule G, line

       Keller                           TX          76244                    Alexander Perez *
       City                             State       ZIP Code




Official Form 106H                              Schedule H: Your Codebtors                                              page 2
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Debtor 1      Robert David Lain                                          Case number (if known)       22-40935-mxm7

               Additional Page to List More Codebtors

       Column 1: Your codebtor                                               Column 2: The creditor to whom you owe the debt

                                                                             Check all schedules that apply:

3.8    Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line
       Number        Street
                                                                                                         4.7
                                                                                 Schedule G, line

       Keller                           TX          76244                    American Express
       City                             State       ZIP Code


3.9    Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line      4.8
       Number        Street
                                                                                 Schedule G, line

       Keller                           TX          76244                    Andres Santiago
       City                             State       ZIP Code


3.10   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line
       Number        Street
                                                                                                         4.9
                                                                                 Schedule G, line

       Keller                           TX          76244                    Andrew Hernandez
       City                             State       ZIP Code


3.11   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line
       Number        Street
                                                                                                        4.10
                                                                                 Schedule G, line

       Keller                           TX          76244                    Andy Gutierrez*
       City                             State       ZIP Code


3.12   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line
       Number        Street
                                                                                                        4.11
                                                                                 Schedule G, line

       Keller                           TX          76244                    Arthur Page*
       City                             State       ZIP Code


3.13   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line     4.12
       Number        Street
                                                                                 Schedule G, line

       Keller                           TX          76244                    Artiss Williams*
       City                             State       ZIP Code




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                                                                             Check all schedules that apply:

3.14   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line
       Number        Street
                                                                                                        4.13
                                                                                 Schedule G, line

       Keller                           TX          76244                    Bennie Davis
       City                             State       ZIP Code


3.15   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line     4.14
       Number        Street
                                                                                 Schedule G, line

       Keller                           TX          76244                    Bernanrdo Avelar
       City                             State       ZIP Code


3.16   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line
       Number        Street
                                                                                                        4.15
                                                                                 Schedule G, line

       Keller                           TX          76244                    Bill Leonard*
       City                             State       ZIP Code


3.17   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line
       Number        Street
                                                                                                        4.16
                                                                                 Schedule G, line

       Keller                           TX          76244                    Bob Schofield*
       City                             State       ZIP Code


3.18   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line
       Number        Street
                                                                                                        4.17
                                                                                 Schedule G, line

       Keller                           TX          76244                    Brandon Atkins
       City                             State       ZIP Code


3.19   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line     4.18
       Number        Street
                                                                                 Schedule G, line

       Keller                           TX          76244                    Brent Beck
       City                             State       ZIP Code




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                                                                             Check all schedules that apply:

3.20   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line
       Number        Street
                                                                                                        4.19
                                                                                 Schedule G, line

       Keller                           TX          76244                    Caleb Harbson
       City                             State       ZIP Code


3.21   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line     4.20
       Number        Street
                                                                                 Schedule G, line

       Keller                           TX          76244                    Carollton Taylor*
       City                             State       ZIP Code


3.22   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line
       Number        Street
                                                                                                        4.21
                                                                                 Schedule G, line

       Keller                           TX          76244                    Cesar Argoaze*
       City                             State       ZIP Code


3.23   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line
       Number        Street
                                                                                                        4.22
                                                                                 Schedule G, line

       Keller                           TX          76244                    Charles Bancroft*
       City                             State       ZIP Code


3.24   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line
       Number        Street
                                                                                                        4.23
                                                                                 Schedule G, line

       Keller                           TX          76244                    Chris Howell*
       City                             State       ZIP Code


3.25   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line     4.24
       Number        Street
                                                                                 Schedule G, line

       Keller                           TX          76244                    Chris Rush
       City                             State       ZIP Code




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                                                                             Check all schedules that apply:

3.26   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line
       Number        Street
                                                                                                        4.25
                                                                                 Schedule G, line

       Keller                           TX          76244                    CJ Allen*
       City                             State       ZIP Code


3.27   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line     4.28
       Number        Street
                                                                                 Schedule G, line

       Keller                           TX          76244                    Craig Harr*
       City                             State       ZIP Code


3.28   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line
       Number        Street
                                                                                                        4.29
                                                                                 Schedule G, line

       Keller                           TX          76244                    Dave Clayton
       City                             State       ZIP Code


3.29   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line
       Number        Street
                                                                                                        4.31
                                                                                 Schedule G, line

       Keller                           TX          76244                    Dimairo Mark
       City                             State       ZIP Code


3.30   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line
       Number        Street
                                                                                                        4.32
                                                                                 Schedule G, line

       Keller                           TX          76244                    Doug Tierney
       City                             State       ZIP Code


3.31   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line     4.33
       Number        Street
                                                                                 Schedule G, line

       Keller                           TX          76244                    Dylen Grezlik*
       City                             State       ZIP Code




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                                                                             Check all schedules that apply:

3.32   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line
       Number        Street
                                                                                                        4.34
                                                                                 Schedule G, line

       Keller                           TX          76244                    Eric Hayden
       City                             State       ZIP Code


3.33   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line     4.35
       Number        Street
                                                                                 Schedule G, line

       Keller                           TX          76244                    Erney Gomez*
       City                             State       ZIP Code


3.34   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line
       Number        Street
                                                                                                        4.36
                                                                                 Schedule G, line

       Keller                           TX          76244                    Fernando Zamudio*
       City                             State       ZIP Code


3.35   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line
       Number        Street
                                                                                                        4.37
                                                                                 Schedule G, line

       Keller                           TX          76244                    Greg Moakes
       City                             State       ZIP Code


3.36   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line
       Number        Street
                                                                                                        4.38
                                                                                 Schedule G, line

       Keller                           TX          76244                    H&A Greenly Transport
       City                             State       ZIP Code


3.37   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line     4.39
       Number        Street
                                                                                 Schedule G, line

       Keller                           TX          76244                    Heston Williams
       City                             State       ZIP Code




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                                                                             Check all schedules that apply:

3.38   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line
       Number        Street
                                                                                                        4.40
                                                                                 Schedule G, line

       Keller                           TX          76244                    Isi Faiva*
       City                             State       ZIP Code


3.39   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line     4.41
       Number        Street
                                                                                 Schedule G, line

       Keller                           TX          76244                    Jared Harrison
       City                             State       ZIP Code


3.40   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line
       Number        Street
                                                                                                        4.42
                                                                                 Schedule G, line

       Keller                           TX          76244                    Jared Powell*
       City                             State       ZIP Code


3.41   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line
       Number        Street
                                                                                                        4.43
                                                                                 Schedule G, line

       Keller                           TX          76244                    Jason Choate*
       City                             State       ZIP Code


3.42   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line
       Number        Street
                                                                                                        4.44
                                                                                 Schedule G, line

       Keller                           TX          76244                    Jason DuBose*
       City                             State       ZIP Code


3.43   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line     4.45
       Number        Street
                                                                                 Schedule G, line

       Keller                           TX          76244                    Jason Langley
       City                             State       ZIP Code




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                                                                             Check all schedules that apply:

3.44   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line
       Number        Street
                                                                                                        4.46
                                                                                 Schedule G, line

       Keller                           TX          76244                    Javier Perez*
       City                             State       ZIP Code


3.45   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line     4.47
       Number        Street
                                                                                 Schedule G, line

       Keller                           TX          76244                    Jay Bishop*
       City                             State       ZIP Code


3.46   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line
       Number        Street
                                                                                                        4.48
                                                                                 Schedule G, line

       Keller                           TX          76244                    Jerry Bluitt
       City                             State       ZIP Code


3.47   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line
       Number        Street
                                                                                                        4.49
                                                                                 Schedule G, line

       Keller                           TX          76244                    Jessie Faz
       City                             State       ZIP Code


3.48   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line
       Number        Street
                                                                                                        4.50
                                                                                 Schedule G, line

       Keller                           TX          76244                    Joe Portales*
       City                             State       ZIP Code


3.49   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line     4.51
       Number        Street
                                                                                 Schedule G, line

       Keller                           TX          76244                    Joe Rodarte*
       City                             State       ZIP Code




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       Column 1: Your codebtor                                               Column 2: The creditor to whom you owe the debt

                                                                             Check all schedules that apply:

3.50   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line
       Number        Street
                                                                                                        4.52
                                                                                 Schedule G, line

       Keller                           TX          76244                    Johnny Davila
       City                             State       ZIP Code


3.51   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line     4.53
       Number        Street
                                                                                 Schedule G, line

       Keller                           TX          76244                    Jon Cheesbro*
       City                             State       ZIP Code


3.52   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line
       Number        Street
                                                                                                        4.54
                                                                                 Schedule G, line

       Keller                           TX          76244                    Jorge Ordaz*
       City                             State       ZIP Code


3.53   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line
       Number        Street
                                                                                                        4.55
                                                                                 Schedule G, line

       Keller                           TX          76244                    Joseph Couch
       City                             State       ZIP Code


3.54   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line
       Number        Street
                                                                                                        4.56
                                                                                 Schedule G, line

       Keller                           TX          76244                    Joseph Neyar*
       City                             State       ZIP Code


3.55   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line     4.58
       Number        Street
                                                                                 Schedule G, line

       Keller                           TX          76244                    Josh*
       City                             State       ZIP Code




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       Column 1: Your codebtor                                               Column 2: The creditor to whom you owe the debt

                                                                             Check all schedules that apply:

3.56   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line
       Number        Street
                                                                                                        4.59
                                                                                 Schedule G, line

       Keller                           TX          76244                    Juan Hernandez*
       City                             State       ZIP Code


3.57   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line     4.60
       Number        Street
                                                                                 Schedule G, line

       Keller                           TX          76244                    Justin Hall*
       City                             State       ZIP Code


3.58   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line
       Number        Street
                                                                                                        4.61
                                                                                 Schedule G, line

       Keller                           TX          76244                    Justin Hess
       City                             State       ZIP Code


3.59   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line
       Number        Street
                                                                                                        4.62
                                                                                 Schedule G, line

       Keller                           TX          76244                    Kenny Lewis
       City                             State       ZIP Code


3.60   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line
       Number        Street
                                                                                                        4.63
                                                                                 Schedule G, line

       Keller                           TX          76244                    Kent Wylie
       City                             State       ZIP Code


3.61   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line     4.64
       Number        Street
                                                                                 Schedule G, line

       Keller                           TX          76244                    Kevin Burnham*
       City                             State       ZIP Code




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       Column 1: Your codebtor                                               Column 2: The creditor to whom you owe the debt

                                                                             Check all schedules that apply:

3.62   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line
       Number        Street
                                                                                                        4.65
                                                                                 Schedule G, line

       Keller                           TX          76244                    Klaus Christopher*
       City                             State       ZIP Code


3.63   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line     4.66
       Number        Street
                                                                                 Schedule G, line

       Keller                           TX          76244                    Lawrence Sharp
       City                             State       ZIP Code


3.64   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line
       Number        Street
                                                                                                        4.67
                                                                                 Schedule G, line

       Keller                           TX          76244                    Luis Jessi*
       City                             State       ZIP Code


3.65   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line
       Number        Street
                                                                                                        4.68
                                                                                 Schedule G, line

       Keller                           TX          76244                    Mark Noble*
       City                             State       ZIP Code


3.66   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line
       Number        Street
                                                                                                        4.69
                                                                                 Schedule G, line

       Keller                           TX          76244                    Mark Perez
       City                             State       ZIP Code


3.67   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line     4.70
       Number        Street
                                                                                 Schedule G, line

       Keller                           TX          76244                    Mark Rendon*
       City                             State       ZIP Code




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       Column 1: Your codebtor                                               Column 2: The creditor to whom you owe the debt

                                                                             Check all schedules that apply:

3.68   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line
       Number        Street
                                                                                                        4.71
                                                                                 Schedule G, line

       Keller                           TX          76244                    Mark Zello*
       City                             State       ZIP Code


3.69   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line     4.72
       Number        Street
                                                                                 Schedule G, line

       Keller                           TX          76244                    Mason Justice*
       City                             State       ZIP Code


3.70   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line
       Number        Street
                                                                                                        4.73
                                                                                 Schedule G, line

       Keller                           TX          76244                    Matt Dixon
       City                             State       ZIP Code


3.71   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line
       Number        Street
                                                                                                        4.74
                                                                                 Schedule G, line

       Keller                           TX          76244                    Michael Pait
       City                             State       ZIP Code


3.72   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line
       Number        Street
                                                                                                        4.75
                                                                                 Schedule G, line

       Keller                           TX          76244                    Mike Musser*
       City                             State       ZIP Code


3.73   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line     4.76
       Number        Street
                                                                                 Schedule G, line

       Keller                           TX          76244                    Monica Jaime
       City                             State       ZIP Code




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       Column 1: Your codebtor                                               Column 2: The creditor to whom you owe the debt

                                                                             Check all schedules that apply:

3.74   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line
       Number        Street
                                                                                                        4.77
                                                                                 Schedule G, line

       Keller                           TX          76244                    National Funding Inc.
       City                             State       ZIP Code


3.75   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line     4.78
       Number        Street
                                                                                 Schedule G, line

       Keller                           TX          76244                    National Funding, Inc.
       City                             State       ZIP Code


3.76   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line
       Number        Street
                                                                                                        4.79
                                                                                 Schedule G, line

       Keller                           TX          76244                    Orlando Castillon*
       City                             State       ZIP Code


3.77   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line
       Number        Street
                                                                                                        4.81
                                                                                 Schedule G, line

       Keller                           TX          76244                    Pepe "Steve" Segovia
       City                             State       ZIP Code


3.78   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line
       Number        Street
                                                                                                        4.82
                                                                                 Schedule G, line

       Keller                           TX          76244                    Randy Williams
       City                             State       ZIP Code


3.79   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line     4.83
       Number        Street
                                                                                 Schedule G, line

       Keller                           TX          76244                    Raunel Tejeda Exodus*
       City                             State       ZIP Code




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       Column 1: Your codebtor                                               Column 2: The creditor to whom you owe the debt

                                                                             Check all schedules that apply:

3.80   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line
       Number        Street
                                                                                                        4.84
                                                                                 Schedule G, line

       Keller                           TX          76244                    Reliant Funding
       City                             State       ZIP Code


3.81   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line     4.85
       Number        Street
                                                                                 Schedule G, line

       Keller                           TX          76244                    Reliant Funding
       City                             State       ZIP Code


3.82   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line
       Number        Street
                                                                                                        4.86
                                                                                 Schedule G, line

       Keller                           TX          76244                    Ricky Peyton*
       City                             State       ZIP Code


3.83   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line
       Number        Street
                                                                                                        4.87
                                                                                 Schedule G, line

       Keller                           TX          76244                    Robert Beman*
       City                             State       ZIP Code


3.84   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line
       Number        Street
                                                                                                        4.88
                                                                                 Schedule G, line

       Keller                           TX          76244                    Robert Chenoweth
       City                             State       ZIP Code


3.85   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line     4.89
       Number        Street
                                                                                 Schedule G, line

       Keller                           TX          76244                    Robert Johnson
       City                             State       ZIP Code




Official Form 106H                              Schedule H: Your Codebtors                                             page 15
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Debtor 1      Robert David Lain                                          Case number (if known)       22-40935-mxm7

               Additional Page to List More Codebtors

       Column 1: Your codebtor                                               Column 2: The creditor to whom you owe the debt

                                                                             Check all schedules that apply:

3.86   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line
       Number        Street
                                                                                                        4.91
                                                                                 Schedule G, line

       Keller                           TX          76244                    Ruben Ramon*
       City                             State       ZIP Code


3.87   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line     4.92
       Number        Street
                                                                                 Schedule G, line

       Keller                           TX          76244                    Russell Blum
       City                             State       ZIP Code


3.88   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line
       Number        Street
                                                                                                        4.93
                                                                                 Schedule G, line

       Keller                           TX          76244                    Ryan Khan
       City                             State       ZIP Code


3.89   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line
       Number        Street
                                                                                                        4.94
                                                                                 Schedule G, line

       Keller                           TX          76244                    Sam Florez*
       City                             State       ZIP Code


3.90   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line
       Number        Street
                                                                                                        4.95
                                                                                 Schedule G, line

       Keller                           TX          76244                    Scott Bridgman
       City                             State       ZIP Code


3.91   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line     4.96
       Number        Street
                                                                                 Schedule G, line

       Keller                           TX          76244                    Scott Klor
       City                             State       ZIP Code




Official Form 106H                              Schedule H: Your Codebtors                                             page 16
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Debtor 1      Robert David Lain                                          Case number (if known)       22-40935-mxm7

               Additional Page to List More Codebtors

       Column 1: Your codebtor                                               Column 2: The creditor to whom you owe the debt

                                                                             Check all schedules that apply:

3.92   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line
       Number        Street
                                                                                                        4.97
                                                                                 Schedule G, line

       Keller                           TX          76244                    Secret Properties
       City                             State       ZIP Code


3.93   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line      2.4
       4405 Thorp Lane                                                           Schedule E/F, line
       Number        Street
                                                                                 Schedule G, line

       Keller                           TX          76244                    Secret Properties
       City                             State       ZIP Code


3.94   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line
       Number        Street
                                                                                                        4.98
                                                                                 Schedule G, line

       Keller                           TX          76244                    Shanna Terry*
       City                             State       ZIP Code


3.95   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line
       Number        Street
                                                                                                        4.99
                                                                                 Schedule G, line

       Keller                           TX          76244                    Taylor Massey*
       City                             State       ZIP Code


3.96   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line
       Number        Street
                                                                                                       4.100
                                                                                 Schedule G, line

       Keller                           TX          76244                    Terry Cenerly*
       City                             State       ZIP Code


3.97   Texas Speed Dynamics LLC
       Name                                                                      Schedule D, line
       4405 Thorp Lane                                                           Schedule E/F, line    4.101
       Number        Street
                                                                                 Schedule G, line

       Keller                           TX          76244                    Tony Alvarez
       City                             State       ZIP Code




Official Form 106H                              Schedule H: Your Codebtors                                             page 17
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Debtor 1       Robert David Lain                                          Case number (if known)       22-40935-mxm7

                Additional Page to List More Codebtors

        Column 1: Your codebtor                                               Column 2: The creditor to whom you owe the debt

                                                                              Check all schedules that apply:

3.98    Texas Speed Dynamics LLC
        Name                                                                      Schedule D, line
        4405 Thorp Lane                                                           Schedule E/F, line
        Number       Street
                                                                                                        4.102
                                                                                  Schedule G, line

        Keller                           TX          76244                    Tony Alvarez
        City                             State       ZIP Code


3.99    Texas Speed Dynamics LLC
        Name                                                                      Schedule D, line
        4405 Thorp Lane                                                           Schedule E/F, line    4.103
        Number       Street
                                                                                  Schedule G, line

        Keller                           TX          76244                    Vince*
        City                             State       ZIP Code


3.100   Texas Speed Dynamics LLC
        Name                                                                      Schedule D, line
        4405 Thorp Lane                                                           Schedule E/F, line
        Number       Street
                                                                                                        4.105
                                                                                  Schedule G, line

        Keller                           TX          76244                    Wells Fargo Bank NA
        City                             State       ZIP Code


3.101   Texas Speed Dynamics LLC
        Name                                                                      Schedule D, line
        4405 Thorp Lane                                                           Schedule E/F, line
        Number       Street
                                                                                                        4.106
                                                                                  Schedule G, line

        Keller                           TX          76244                    Wells Fargo MC/VISA
        City                             State       ZIP Code


3.102   Lain, Debra Jean
        Name                                                                      Schedule D, line      2.2
        4405 Thorp Lane                                                           Schedule E/F, line
        Number       Street
                                                                                  Schedule G, line

        Keller                           TX          76244                    Freedom Mortgage Corporation
        City                             State       ZIP Code




Official Form 106H                               Schedule H: Your Codebtors                                             page 18
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 Fill in this information to identify your case:
     Debtor 1              Robert               David                  Lain
                           First Name           Middle Name            Last Name                           Check if this is:
     Debtor 2                                                                                                   An amended filing
     (Spouse, if filing)   First Name           Middle Name            Last Name
                                                                                                                A supplement showing postpetition
     United States Bankruptcy Court for the:   NORTHERN DISTRICT OF TEXAS
                                                                                                                chapter 13 income as of the following date:
     Case number           22-40935-mxm7
     (if known)
                                                                                                                MM / DD / YYYY
Official Form 106I
Schedule I: Your Income                                                                                                                              12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

 Part 1:          Describe Employment
1.    Fill in your employment
      information.                                             Debtor 1                                           Debtor 2 or non-filing spouse
      If you have more than one
      job, attach a separate page       Employment status             Employed                                           Employed
      with information about                                          Not employed                                       Not employed
      additional employers.
                                        Occupation             Construction & Mitigation                          Unemployed
      Include part-time, seasonal,
      or self-employed work.            Employer's name        Blackmon Mooring & BMS CAT

      Occupation may include            Employer's address     315 North Great Southwest Parkway
      student or homemaker, if it                              Number Street                                      Number Street
      applies.




                                                               Arlington                    TX      76011
                                                               City                         State   Zip Code      City                   State   Zip Code

                                        How long employed there?        5 years 11 months

 Part 2:          Give Details About Monthly Income
Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated.
If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If
you need more space, attach a separate sheet to this form.

                                                                                            For Debtor 1            For Debtor 2 or
                                                                                                                    non-filing spouse

2.    List monthly gross wages, salary, and commissions (before all             2.               $11,738.34                    $0.00
      payroll deductions). If not paid monthly, calculate what the monthly wage
      would be.
3.    Estimate and list monthly overtime pay.                                      3.   +              $0.00                   $0.00

4.    Calculate gross income. Add line 2 + line 3.                                 4.            $11,738.34                    $0.00




Official Form 106I                                            Schedule I: Your Income                                                                page 1
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Debtor 1        Robert David Lain                                                                                               Case number (if known)    22-40935-mxm7
                                                                                                                   For Debtor 1             For Debtor 2 or
                                                                                                                                            non-filing spouse
     Copy line 4 here ...................................................................................................................
                                                                                                                 4.            $11,738.34            $0.00
5.   List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                                                     5a.           $1,966.78                   $0.00
     5b. Mandatory contributions for retirement plans                                                      5b.               $0.00                   $0.00
     5c. Voluntary contributions for retirement plans                                                      5c.            $234.66                    $0.00
     5d. Required repayments of retirement fund loans                                                      5d.            $373.40                    $0.00
     5e. Insurance                                                                                         5e.              $77.08                   $0.00
     5f. Domestic support obligations                                                                      5f.               $0.00                   $0.00
     5g. Union dues                                                                                        5g.               $0.00                   $0.00
     5h. Other deductions.
          Specify: GTL                                                                                     5h. +                $5.00                $0.00
6.   Add the payroll deductions.                 Add lines 5a + 5b + 5c + 5d + 5e + 5f +                   6.            $2,656.92                   $0.00
     5g + 5h.
7.   Calculate total monthly take-home pay.                        Subtract line 6 from line 4.            7.            $9,081.42                   $0.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a                                              8a.                  $0.00                $0.00
          business, profession, or farm
           Attach a statement for each property and business showing
           gross receipts, ordinary and necessary business expenses, and
           the total monthly net income.
     8b. Interest and dividends                                                                            8b.                  $0.00                $0.00
     8c. Family support payments that you, a non-filing spouse, or a                                       8c.                  $0.00                $0.00
         dependent regularly receive
           Include alimony, spousal support, child support, maintenance,
           divorce settlement, and property settlement.
     8d. Unemployment compensation                                                                         8d.                  $0.00                $0.00
     8e. Social Security                                                                                   8e.                  $0.00                $0.00
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) or any non-
         cash assistance that you receive, such as food stamps
         (benefits under the Supplemental Nutrition Assistance Program)
         or housing subsidies.
         Specify:                                                                                          8f.                  $0.00                $0.00
     8g. Pension or retirement income                                                                      8g.                  $0.00                $0.00
     8h. Other monthly income.
         Specify: Net quarterly bonus prorated monthly                                                     8h. +       $21,927.00                    $0.00

9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.                                9.          $21,927.00                    $0.00

10. Calculate monthly income. Add line 7 + line 9.                             10.    $31,008.42 +             $0.00 =                                                $31,008.42
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.

     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

     Specify:                                                                                                                                            11.    +           $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly                                            12.          $31,008.42
    income. Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information,
    if it applies.                                                                                                                                                  Combined
                                                                                                                                                                    monthly income
13. Do you expect an increase or decrease within the year after you file this form?
        No.           None.
           Yes. Explain:




Official Form 106I                                                              Schedule I: Your Income                                                                      page 2
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 Fill in this information to identify your case:
                                                                                                         Check if this is:
     Debtor 1              Robert                 David                  Lain                                An amended filing
                           First Name             Middle Name            Last Name                           A supplement showing postpetition
                                                                                                             chapter 13 expenses as of the
     Debtor 2
     (Spouse, if filing)   First Name             Middle Name            Last Name                           following date:

     United States Bankruptcy Court for the:    NORTHERN DISTRICT OF TEXAS                                     MM / DD / YYYY
     Case number           22-40935-mxm7
     (if known)

Official Form 106J
Schedule J: Your Expenses                                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.


 Part 1:          Describe Your Household
1.    Is this a joint case?

            No. Go to line 2.
            Yes. Does Debtor 2 live in a separate household?
                     No
                     Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?                  No
                                               Yes. Fill out this information          Dependent's relationship to    Dependent's      Does dependent
      Do not list Debtor 1 and                                                         Debtor 1 or Debtor 2           age              live with you?
                                               for each dependent...................................
      Debtor 2.                                                                                                                            No
                                                                                  Wife                                51
                                                                                                                                           Yes
      Do not state the dependents'
                                                                                                                                           No
      names.                                                                      Daughter
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                  Daughter
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
3.    Do your expenses include                        No
      expenses of people other than                   Yes
      yourself and your dependents?


 Part 2:          Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                      Your expenses

4.    The rental or home ownership expenses for your residence.                                                      4.                    $2,883.52
      Include first mortgage payments and any rent for the ground or lot.
      If not included in line 4:

      4a. Real estate taxes                                                                                          4a.

      4b. Property, homeowner's, or renter's insurance                                                               4b.

      4c. Home maintenance, repair, and upkeep expenses                                                              4c.                    $300.00
      4d. Homeowner's association or condominium dues                                                                4d.                     $25.00




 Official Form 106J                                             Schedule J: Your Expenses                                                        page 1
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Debtor 1      Robert David Lain                                                        Case number (if known)    22-40935-mxm7
                                                                                                          Your expenses

5.   Additional mortgage payments for your residence, such as home equity loans                     5.

6.   Utilities:

     6a. Electricity, heat, natural gas                                                             6a.                    $400.00
     6b. Water, sewer, garbage collection                                                           6b.                    $120.00
     6c. Telephone, cell phone, Internet, satellite, and                                            6c.                    $620.00
         cable services
     6d. Other. Specify:                                                                            6d.

7.   Food and housekeeping supplies                                                                 7.                    $1,200.00
8.   Childcare and children's education costs                                                       8.                     $100.00
9.   Clothing, laundry, and dry cleaning                                                            9.                     $100.00
10. Personal care products and services                                                             10.                    $150.00
11. Medical and dental expenses                                                                     11.                    $200.00
12. Transportation. Include gas, maintenance, bus or train                                          12.                    $300.00
    fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers,                                                   13.                    $500.00
    magazines, and books
14. Charitable contributions and religious donations                                                14.

15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

     15a.   Life insurance                                                                          15a.                    $10.00
     15b.   Health insurance                                                                        15b.

     15c.   Vehicle insurance                                                                       15c.                   $289.00
     15d.   Other insurance. Specify:                                                               15d.
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify:                                                                                        16.

17. Installment or lease payments:

     17a.   Car payments for Vehicle 1    2019 Ford F250                                            17a.                   $871.61
     17b.   Car payments for Vehicle 2    2019 Infinity QX80                                        17b.                   $842.89
     17c.   Other. Specify: 1954 Chevrolet 3100                                                     17c.                   $241.56
     17d.   Other. Specify:                                                                         17d.

18. Your payments of alimony, maintenance, and support that you did not report as                   18.
    deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).


19. Other payments you make to support others who do not live with you.
    Specify:                                                                                        19.




 Official Form 106J                                        Schedule J: Your Expenses                                          page 2
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Debtor 1      Robert David Lain                                                                Case number (if known)    22-40935-mxm7
20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
    20a.    Mortgages on other property                                                                      20a.

    20b.    Real estate taxes                                                                                20b.

    20c.    Property, homeowner's, or renter's insurance                                                     20c.

    20d.    Maintenance, repair, and upkeep expenses                                                         20d.

    20e.    Homeowner's association or condominium dues                                                      20e.

21. Other. Specify: Pet Expenses                                                                             21.    +             $100.00
22. Calculate your monthly expenses.

    22a.    Add lines 4 through 21.                                                                          22a.                $9,253.58
    22b.    Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2.                 22b.

    22c.    Add line 22a and 22b. The result is your monthly expenses.                                       22c.                $9,253.58

23. Calculate your monthly net income.

    23a.    Copy line 12 (your combined monthly income) from Schedule I.                                     23a.               $31,008.42
    23b.    Copy your monthly expenses from line 22c above.                                                  23b.   –            $9,253.58
    23c.    Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                           23c.               $21,754.84

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
    payment to increase or decrease because of a modification to the terms of your mortgage?

           No.
           Yes. Explain here:
                None.




 Official Form 106J                                         Schedule J: Your Expenses                                                page 3
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 Fill in this information to identify your case:
 Debtor 1                 Robert                        David                         Lain
                          First Name                    Middle Name                   Last Name

 Debtor 2
 (Spouse, if filing) First Name                         Middle Name                   Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number              22-40935-mxm7                                                                                                                    Check if this is an
 (if known)
                                                                                                                                                           amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                     12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended
schedules after you file your original forms, you must fill out a new Summary and check the box at the top of this page.



 Part 1:           Summarize Your Assets

                                                                                                                                                                       Your assets
                                                                                                                                                                       Value of what you own
1.    Schedule A/B: Property (Official Form 106A/B)
                                                                                                                                                                             $477,000.00
      1a. Copy line 55, Total real estate, from Schedule A/B.....................................................................................................................


                                                                                                                                                                        $968,144.61
      1b. Copy line 62, Total personal property, from Schedule A/B......................................................................................................................................................


                                                                                                                                                                          $1,445,144.61
      1c. Copy line 63, Total of all property on Schedule A/B................................................................................................................................................................


 Part 2:           Summarize Your Liabilities

                                                                                                                                                                         Your liabilities
                                                                                                                                                                         Amount you owe

2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                                                                           $478,046.00
      2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.........................

3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                   $0.00
      3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................................................................


                                                                                                                                     +           $1,419,377.53
      3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F........................................................



                                                                                                                                    Your total liabilities                      $1,897,423.53




 Part 3:           Summarize Your Income and Expenses

4.    Schedule I: Your Income (Official Form 106I)
                                                                                                                                                                        $31,008.42
      Copy your combined monthly income from line 12 of Schedule I....................................................................................................................................................

5.    Schedule J: Your Expenses (Official Form 106J)
      Copy your monthly expenses from line 22c of Schedule J.........................................................................................................                  $9,253.58




Official Form 106Sum                         Summary of Your Assets and Liabilities and Certain Statistical Information                                                                        page 1
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Debtor 1       Robert David Lain                                                            Case number (if known)     22-40935-mxm7


 Part 4:         Answer These Questions for Administrative and Statistical Records

6.    Are you filing for bankruptcy under Chapters 7, 11, or 13?

            No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
            Yes

7.    What kind of debt do you have?

            Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
            family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.
            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
            this form to the court with your other schedules.

8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from
      Official Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.


9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim

      From Part 4 on Schedule E/F, copy the following:

      9a. Domestic support obligations. (Copy line 6a.)

      9b. Taxes and certain other debts you owe the government. (Copy line 6b.)

      9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)

      9d. Student loans. (Copy line 6f.)

      9e. Obligations arising out of a separation agreement or divorce that you did not report as
          priority claims. (Copy line 6g.)

      9f.   Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)       +

      9g. Total.    Add lines 9a through 9f.




Official Form 106Sum                Summary of Your Assets and Liabilities and Certain Statistical Information                                page 2
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 Fill in this information to identify your case:
 Debtor 1           Robert              David                Lain
                    First Name          Middle Name          Last Name

 Debtor 2
 (Spouse, if filing) First Name         Middle Name          Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number        22-40935-mxm7                                                                            Check if this is an
 (if known)
                                                                                                             amended filing

Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                     12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement,
concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to
$250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below

    Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

          No

          Yes. Name of person                                                                Attach Bankruptcy Petition Preparer's Notice,
                                                                                             Declaration, and Signature (Official Form 119).




    Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are
    true and correct.




    X /s/ Robert David Lain                                X
        Robert David Lain, Debtor 1                            Signature of Debtor 2

        Date 05/16/2022                                        Date
             MM / DD / YYYY                                           MM / DD / YYYY




Official Form 106Dec                        Declaration About an Individual Debtor's Schedules                                         page 1
